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                     IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF PENNSYLVANIA

RENEE ZINSKY,                                                Civil Action

       Plaintiff,                                            No. 2:22-cv-547

       vs.                                                   Judge Horan

MICHAEL RUSSIN, RUSSIN FINANCIAL,
RUSSIN GROUP, SIMON ARIAS, III,
ARIAS AGENCIES, S.A. ARIAS HOLDINGS, LLC,
AMERICAN INCOME LIFE INSURANCE
COMPANY,

       Defendants.                                           JURY TRIAL DEMANDED

                                      ORDER OF COURT

       AND NOW, this ____ day of _________________________, 2023 upon consideration of
the foregoing, Plaintiff’s Motion for Protective Order is hereby GRANTED.               This Court
specifically holds as follows:

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RWKHUFULPLQDOSXQLVKPHQWLQOLQHZLWKWKHIHGHUDOVHQWHQFLQJJXLGHOLQHV

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3URWHFWLYH2UGHULQWKHDPRXQWRIDQG

      $Q\RWKHUUHOLHIWKLV&RXUWGHHPVDSSURSULDWH
                                                             BY THE COURT:

                                                             _________________________
                                                             Marilyn J. Horan
                                                             United States District Judge
